                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI

    BILLIE RODRIQUEZ, et al

          Plaintiffs,
                                                        Case No. 4:24-cv-00803-SRB
    v.

    EXXON MOBIL CORPORATION, et al

          Defendants.


         PLAINTIFFS’ NOTICE IN RESPONSE TO EXXON MOBIL’S MOTION TO
                 TRANSFER AND MOTION TO STAY PROCEEDINGS

         Plaintiffs come now to address Exxon Mobil Corporation’s Motion to Transfer Venue and

Motion to Stay Proceedings. Both Motions are now moot, and in support of this, Plaintiffs state:

         1.       On December 22, 2024, Defendant Exxon Mobil Corporation 1 filed both a Motion

to Transfer Venue [ECF 3] and Suggestions in Support [ECF 4], and a Motion to Stay Proceedings

with accompanying Suggestions in Support [ECF 5]. Through stipulation, the deadline for

Plaintiffs’ Response to these Motions is January 17, 2025. ECF 11, 12.

         2.       The basis for these Motions was the filing of a similar putative class action, against

the same Defendants, with the same allegations, on behalf of Plaintiff Ford County in the District

of Kansas, Ford County, Kansas v. Exxon Mobil Corp., et al., Case No. 2:24-cv-02547. Defendant

Exxon alleges “virtually identical averments of fact” between the instant case and Ford County.

ECF 4 at 3.


1
  Defendant ExxonMobil’s attempt to "specially appear" while preserving Rule 12(b) defenses is inconsistent with
well-established principles of federal civil procedure. Filing any motion, including a motion to stay or transfer venue,
constitutes consent to the Court’s jurisdiction and effectively waives any objections based on personal jurisdiction or
improper venue. See Insurance Corp. of Ireland v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 704 (1982)
(holding that personal jurisdiction objections can be waived through conduct indicating consent to the court’s
authority). ExxonMobil’s filing of motions in this case, including its Motion to Transfer and Motion to Stay
Proceedings, constitutes an invocation of the Court’s authority and renders its purported “special appearance”
meaningless.
        3.      Upon consideration of Defendant Exxon Mobil’s arguments regarding the overlap

of allegations and parties to the two cases, and for purposes of judicial efficiency and economies,

Plaintiffs, as masters of their own Complaint, voluntarily dismissed Ford County in the District of

Kansas. See 24-cv-2547, ECF 4 (attached as Exhibit 1).

        4.      Because the instant case is now brought on behalf of several Missouri residents—

including additional plaintiffs added as part of the forthcoming First Amended Complaint—the

lawsuit is best situated in the Western District of Missouri to be litigated in a single case, together,

by the Consumer Plaintiffs and the governmental entity Plaintiff, Ford County. This will allow all

parties to save time and judicial resources and streamline discovery in the appropriate jurisdiction.

        5.      As such, an Amended Complaint on behalf of the Consumer Plaintiffs and Ford

County is forthcoming on the docket, and Defendant Exxon Mobil Corporation’s Motions to

Transfer and Stay are now moot and require no further response.




                                                   2
Dated: January 17, 2025.   Respectfully submitted,

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                              3
                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 17, 2025, I caused to be electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record.


                                                     /s/ Rex A. Sharp
                                                     Rex A. Sharp




                                                4
